Case: 1:18-cv-05369 Document #: 169-1 Filed: 06/18/20 Page 1 of 3 PageID #:4227




                 EXHIBIT A
            Case: 1:18-cv-05369 Document #: 169-1 Filed: 06/18/20 Page 2 of 3 PageID #:4228


Reynolds, Steven J.

From:                                      Reynolds, Steven J.
Sent:                                      Thursday, June 18, 2020 11:31 AM
To:                                        'karina.smith@bakerbotts.com'; jon.swenson@bakerbotts.com;
                                           hop.guy@BakerBotts.com; andrew.wilson@BakerBotts.com
Cc:                                        Koropp, David E.; Ives, Erik J.; Vanderporten, Steven L.; nick.baniel@bakerbotts.com
Subject:                                   RE: (Cont.) Meet and Confer regarding Exhibit B and D documents


Thanks, Karina. I think we can live with these for purposes of initial settlement negotiations. Of course we reserve all
rights as discussed below and may have to revisit portions after our client is finally able to see the documents (in
redacted form).

I think we can take the 10/noon call off the calendar.

I will put together a shell joint status report. Shall we agree to exchange position statements at 3:00 pm PT / 5:00 pm
CT?

Steve Reynolds
sreynolds@foxswibel.com  312-224-1249 (direct)  312-636-4674 (mobile)


FOX SWIBEL LEVIN & CARROLL LLP
200 W. Madison Street, Suite 3000  Chicago, Illinois 60606
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transmission in error, please notify me by return mail or telephone and delete the transmission from your system. Thank you.




From: karina.smith@bakerbotts.com [mailto:karina.smith@bakerbotts.com]
Sent: Thursday, June 18, 2020 11:24 AM
To: Reynolds, Steven J.; jon.swenson@bakerbotts.com; hop.guy@BakerBotts.com; andrew.wilson@BakerBotts.com
Cc: Koropp, David E.; Ives, Erik J.; Vanderporten, Steven L.; nick.baniel@bakerbotts.com
Subject: RE: (Cont.) Meet and Confer regarding Exhibit B and D documents

Steve,

Thanks for your response.

As to page 51, your proposal is fine. In the attached, you’ll see we’ve removed the redactions of “2017 Plan.”

As to page 24, the quarter page leading up to Sakid Ahmed’s (unredacted) 9:46 AM comment contains sensitive
employee performance information and sensitive information regarding Cambium’s performance in the               region.
However, we would be fine removing the redaction from that portion of the discussion except for on
                                                                               . This should still provide sufficient
context for the previously unredacted comment.

These modifications are reflected in the attached. Please let us know if this resolves our disputes regarding redactions of
documents for settlement purposes.
                                                                          1
            Case: 1:18-cv-05369 Document #: 169-1 Filed: 06/18/20 Page 3 of 3 PageID #:4229


Best,
Karina

From: Reynolds, Steven J. <sreynolds@foxswibel.com>
Sent: Thursday, June 18, 2020 8:09 AM
To: Smith, Karina <karina.smith@bakerbotts.com>; Swenson, Jon <jon.swenson@bakerbotts.com>; Guy, Hop
<hop.guy@BakerBotts.com>; Wilson, Andrew <andrew.wilson@BakerBotts.com>
Cc: Koropp, David E. <dkoropp@foxswibel.com>; Ives, Erik J. <eives@foxswibel.com>; Vanderporten, Steven L.
<svanderporten@foxswibel.com>; Baniel, Nick <nick.baniel@bakerbotts.com>
Subject: RE: (Cont.) Meet and Confer regarding Exhibit B and D documents


[EXTERNAL EMAIL]


Karina,

Subject to our continued objections that none of these documents contain AEO material and with the understanding
that we are agreeing to these redactions solely for purposes of advancing initial settlement discussions, the
interrogatory documents appear to be fine. We will confirm by our meet/confer today.

On the exhibit B documents, we have a few remaining issues.

          As to page 24, you initially redacted the entire document (pages 24‐26 in the PDF). After our meet/confer
          yesterday, you agreed to take another look through the document and propose more specific redactions. In our
          discussion, I gave you one example of a portion that might be useful. Instead of looking at the document as a
          hole, you simply redacted the two lines I identified. At the very least—in the interest of moving this along—
          please consider redacting the quarter‐of‐a‐page leading up to the redactions allowed. The fact that Alex plays
          Battlefield 1 is not AEO; nor is the fact that Sakid recognizes the game is graphically intensive. The remainder is
          context for the portion that now stands un‐redacted.

          As to page 51, we discussed redacting the overall revenue projection of “the 2017 Plan,” with your
          representation that it applies to Cambium’s entire business. The phrase, however, does not make sense without
          “2017 Plan” included. Will you agree to that adjustment?

‐Steve

Steve Reynolds
sreynolds@foxswibel.com  312-224-1249 (direct)  312-636-4674 (mobile)


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From: karina.smith@bakerbotts.com [mailto:karina.smith@bakerbotts.com]
Sent: Wednesday, June 17, 2020 10:43 PM
To: Reynolds, Steven J.; jon.swenson@bakerbotts.com; hop.guy@BakerBotts.com; andrew.wilson@BakerBotts.com
                                                                          2
